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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

DU’BOIS A. CROCKROM, individually and          )
on behalf of all others similarly situated,    )   Civil Action No. 1:20-cv-00013-JPO
                                               )
                Plaintiff,                     )   Judge J. Paul Oetken
                                               )
       v.                                      )   Magistrate Judge Debra C. Freeman
                                               )
BANK OF AMERICA, N.A. and BANK OF              )
AMERICA CORPORATION,                           )   (ELECTRONICALLY FILED)
                                               )
                Defendants.
                                               )




                       DEFENDANTS’ NOTICE OF MOTION TO
                  DISMISS AND TO STRIKE PLAINTIFF’S COMPLAINT

       PLEASE TAKE NOTICE that Defendants Bank of America, N.A. and Bank of America

Corporation (“BAC”) respectfully move the Court to dismiss the Complaint pursuant to Fed. R.

Civ. P. 12(b)(6), to dismiss the claims against BAC pursuant to Fed. R. Civ. P. 12(b)(2) and

12(b)(6), and to strike the Complaint’s nationwide class allegations pursuant to Fed. R. Civ. P.

12(f), in support of which Defendants rely on the accompanying Memorandum of Law,

Declaration, and the exhibit thereto.



DATED:          February 4, 2020

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                              and Bank of America Corporation




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